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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION


UNITED STATES OF AMERICA,                 :
                                          :
       Plaintiff,                         :
                                          :
v.                                        :    Case No. 8:07-cr-534-T-30EAJ
                                          :
JUAN MANUEL ROMERO,                       :
                                          :
       Defendant.                         :
                                          :


                       PRELIMINARY ORDER OF FORFEITURE

       THIS CAUSE comes before the Court upon the filing of the Motion (Dkt. #57) of the

United States of America for Entry of a Preliminary Order of Forfeiture, which shall be a

final order of forfeiture as to defendant Juan Manuel Romero’s right, title, and interest in

$94,020.00 in United States currency.

       Being fully advised in the premises, the Court finds that the United States has

established the nexus between the crime of conviction and the $94,020.00 in United States

currency; and

       WHEREAS, by virtue of the defendant’s plea agreement, the United States is now

entitled to possession of the currency listed above pursuant to 21 U.S.C. § 853(a), and

Rule 32.2(b)(2) of the Federal Rules of Criminal Procedure;

       It is hereby ORDERED, ADJUDGED, and DECREED:

       1.      The Motion (Dkt. #57) of the United States of America for Entry of a

Preliminary Order of Forfeiture is GRANTED;
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       2.     That all right, title and interest of defendant Juan Manuel Romero in the

above-listed currency are hereby condemned and forfeited to the United States for

disposition in accordance with the law, subject to the provisions of 21 U.S.C. § 853;

       3.     That, following the entry of an order of forfeiture, the United States shall

publish notice of the order and of its intent to dispose of the forfeited asset in such a

manner as the Attorney General may direct. The United States may also, to the extent

practicable, provide direct written notice to any person known to have alleged an interest

in the above-described asset, that is the subject of this Preliminary Order of Forfeiture, as

a substitute for published notice as to those persons so notified;

       4.     That the Court retains jurisdiction to enter any orders necessary for the

forfeiture and disposition of the subject property, and to address any third party petitions

that may be filed in the ancillary proceedings;

       5.     That any person, other than Juan Manuel Romero, who has or claims a legal

interest in the above-described property shall file a petition with this Court for a hearing to

adjudicate the validity of his alleged interest in the forfeited asset. The petition shall be

mailed to the Clerk of the United States District Court, Sam Gibbons Federal Courthouse,

801 North Florida Avenue, 2nd Floor, Tampa, Florida 33602, within thirty (30) days of the

final publication of notice or of receipt of actual notice, whichever is earlier;

       6.     That the petition must be signed by the petitioner under penalty of perjury,

and shall set forth the nature and extent of the petitioner's right, title or interest in the

forfeited asset, the time and circumstances of the petitioner’s acquisition of the right, title

or interest in the forfeited asset, and any additional facts surrounding the petitioner's claim

and the relief sought;

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         7.        That, after receipt of the petition by the Court, the Court will set a hearing to

determine the validity of the petitioner’s alleged interest in the forfeited asset; and

         8.        That, upon adjudication of all third-party interests in the above-described

assets, this Court will enter a Final Order of Forfeiture, pursuant to 21 U.S.C. § 853 and

Fed. R. Crim. P. 32.2(c)(2), in which all interests will be addressed.

         DONE and ORDERED in Tampa, Florida on May 5, 2008.




Conformed copies to:
All Counsel/Parties of Record
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